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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                    CENTRAL DIVISION




 TAJ BECKER, M.D.,
          Plaintiff,                                  MEMORANDUM DECISION AND
                                                      ORDER GRANTING IN PART
                                                      DEFENDANTS’ MOTION FOR
                                                      SUMMARY JUDGMENT ON
                                                      RETALIATION AND CONSPIRACY
                                                      CLAIMS


                  vs.


 J. DENIS KROLL, et al.,                              Case No. 2:02-CV-24 TS
          Defendants.




                                     I. INTRODUCTION

      Pursuant to the Tenth Circuit’s opinion,1 Plaintiff’s claims of retaliation and

conspiracy against several defendants were remanded for further consideration on

summary judgment.2 The Court finds that Defendant Kroll is entitled to a combination of

qualified immunity and absolute prosecutorial immunity, that Defendants Van Ballegoie,



      1
          Becker v. Kroll, 494 F.3d 904, 928 (10th Cir. 2007).
      2
      State law liable claims against two other Defendants were also remanded.
Those claims are subject of a separate Motion for Summary Judgment.

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Allen and Herbert-Snow are entitled to summary judgment because Plaintiff has not come

forward with evidence of their personal participation in the alleged violation of Plaintiff’s

constitutional right or of retaliatory motive, and that summary judgment should be denied

for Defendant Wright.

                              II. FACTUAL BACKGROUND

       The factual background is thoroughly laid out in the Tenth Circuit’s opinion. Those

facts are repeated here as needed for context and new facts are set forth as relevant to

the present Motion. For the purposes of summary judgment, evidence of the following

facts have been proffered by Becker.

       In November 1998, Utah’s Medicaid Fraud Control Unit (MFCU) was under pressure

to make greater recoveries. Defendant Terry Allen, a research analyst for MFCU flagged

Plaintiff Becker, a St. George neurologist, as possibly having up-coded Medicaid costs.

Up-coding is the practice of overcharging the Medicaid program for services.

       In November 1998, Defendant Kroll (MFCU prosecutor who later became an interim

director) obtained permission from a state judge to issue a subpoena for Becker’s medical

records. Defendants Jeff Wright (Chief Investigator for MFCU) and Michelle Hebert-Snow

(Medical Investigator for MFCU) served the subpoena on Becker on November 17, 1998.

Becker complied with the facially valid subpoena by producing her patients’ records for

copying. No return of service was ever filed for the subpoena, and MFCU’s file failed to

mention the subpoena. Instead, Wright’s report stated that Becker had voluntarily turned

over the records.




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       Herbert-Snow’s initial examination of those records concluded that Becker had likely

up-coded. However, Herbert-Snow told Wright that she was not an expert and her work

would have to be reviewed by a physician, preferably by two physicians.

       Over the next several months, MFCU conducted settlement negotiations with

Becker. During the negotiations MFCU demanded large sums of money from Dr. Becker

as reimbursement for the alleged up-coding or MFCU threatened that it would file a

criminal complaint against her. During those negotiations, Becker was threatened with a

“parade of horrors” including loss of her licence and livelihood, that she would be reported

to the federal government, that she would have to pay amounts up to $640,000, and the

threatened criminal action—all if she did not pay the sums demanded by MFCU. The

amount demand was initially $107,000, but the demand amount was later reduced. The

initial settlement meeting was attended by Defendants Kroll, Wright, and Herbert-Snow.

Becker attended the first meeting alone, as recommended by Defendants. Most of the

remaining meetings and conversations were apparently arranged by Kroll and Adolf

Becker, Plaintiff’s husband who is an attorney. Becker never agreed to any settlement and

always maintained she had correctly coded the Medicaid program billing. MFCU did not

maintain a record of the settlement proceedings.

       In June 1999, Kroll filed a civil action against Becker to recover $25,000 in alleged

up-coded amounts, plus fines and costs. However, Kroll dismissed the civil action two

weeks later because Becker refused to agree to pay amounts demanded to settle the case.

       During this time that MFCU was threatening Becker with a criminal action, MFCU

contracted with an independent neurologist, Dr. Vine, to review Becker’s records. Dr. Vine

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submitted a report finding no evidence of up-coding. This exculpatory information was

known to Wright, but not included in MFCU’s file and was not conveyed to Becker. Another

doctor was then hired to conduct analysis and agreed with MFCU’s initial finding that up-

coding had likely occurred.

       In November 1999, Becker filed a Notice of Claim against the state relating to

MFCU’s action. By November and December 1999, Becker and her husband were

engaged in speaking out against MFCU by writing and contacting government officials to

allege that MFCU employed bullying tactics to extort money from rural doctors and that

there was a lack of oversight by MFCU by the Department of Public Safety. They also

alleged that MFCU was ineffective overall and needed to be reformed. The Beckers’

efforts were extensive as shown by the following examples. In November 1999, the

Beckers contacted Kroll with GRAMA3 requests for extensive information about the

program, evidencing her participation in the larger debate about MFCU. At the end of

October, Becker wrote the federal Office of Inspector General with complaints that MFCU

personnel, such as Wright, were unqualified and were abusing their positions.          In

December 1999, Becker’s husband wrote a Utah state senator. The letter spoke out to

the senator regarding such areas of public concern as MFCU’s alleged abuses regarding

rural physicians, MFCU’s performance over a four year period, its staff, its proposed

budget for the upcoming year, and urged that MFCU’s tasks be reassigned to another state

agency. The letter was copied to a state representative and the governor.


       3
           Government Records Access and Management Act, Utah Code Ann. § 63G-2-
201.

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       The Beckers’ efforts were part of a larger and on-going political debate at the same

time frame that resulted in management changes at MFCU. For example, in July 1999, a

Utah senator wrote the Utah Attorney General about his concerns over complaints he had

received from doctors about possible abuses. The Utah Medical Association also made

a request for information about the fraud unit, the number of physicians it investigated, and

the amounts collected. There were public meetings where MFCU was criticized. Shortly

afterwards, as a result of the larger political debate in which the Beckers and others

participated, the state moved MFCU from the Department of Public Safety to the Attorney

General’s office. Kroll became interim director and David Gardner was appointed as new

lead prosecutor. Kroll was eventually transferred out of MFCU. Kroll was still director

when the criminal complaint was filed against Becker, but was transferred before the

preliminary hearing.

       Kroll and Wright were aware of the public criticism, and were aware that the Beckers

were vocal in joining the public debate and criticism of MFCU. Wright was not just aware

of the Beckers’ role in the public criticism of MFCU and their specific criticism of his

performance at MFCU, he admitted he was affected by that public criticism. Defendant

Van Ballegoie testified that non-specific employees at MFCU heard that Becker was

pursuing an action against MFCU and that fact was brought up in weekly staff meetings.

       Gardner was new to MFCU and based his decision to file charges on Wright’s

follow-up reports and other information from the file. The file did have the reports of two

doctors. However, the file and Wright’s reports lacked any reference to the original

subpoena, to Dr. Vine’s analysis, and to the details of the settlement negotiation meetings

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where Becker was asked to pay specific sums of money or be criminally prosecuted, lose

her licence, etc. Not only was the information about Dr. Vine’s report not included in the

file, Wright told Gardner that the investigators had seen a Dr. Vine, but that Dr. Vine “had

nothing to do with the case, wasn’t qualified or didn’t do anything.”4 Gardner took Becker’s

file to the Criminal Prosecution Committee of the Attorney General’s Office on several

occasions. Kroll sat on this committee at least once or twice when Becker’s case was

discussed. Kroll was at Gardner’s earlier appearances with the screening committee, not

the later ones. Gardner also discussed the case with several other prosecutors and his

supervisor. Because Gardner was missing key information, such as the existence of the

exculpatory Vine report, that key information was not conveyed to those Gardner consulted

with about filing the charge against Becker.

       In January 2000, Becker’s husband testified before a legislative committee

regarding MFCU. Shortly thereafter, on January 11, 2000 Gardner filed the criminal

charges.

       On July 12, 2000, a preliminary hearing was held in Becker’s criminal case. At the

hearing, Judge Lindberg of the Third District of Utah found probable cause after the state

had put on its evidence. However, immediately after binding Becker over, Judge Lindberg

acknowledged that she “probably acted prematurely” and told Becker that she had the right

to present her defense.5 Becker’s attorney responded that they would not put on a defense


       4
       Pl.’s Ex. I, 23: 11-13.
       5
       Def.’s Ex. I, Trans. of Preliminary Hearing Proceedings, 360. Specifically Judge
Lindberg stated, “I believe the State has provided sufficient evidence on each of those
elements and, accordingly, I bind you over.” Becker responded, “Thank you, Your

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“knowing where the Court is going with this or has gone with this.”6 Having just learned of

Dr. Vine and his report, Becker’s counsel decided not to try to call in Dr. Vine and another

doctor as witnesses, but that it was a better strategic decision to file motions to suppress.7

Becker entered a plea of not guilty.

       According to Gardner, Wright’s testimony at the preliminary hearing was the first

time that Gardner learned that Wright had sent the records to Dr. Vine, a fact entirely

absent from the investigative file.8 Gardner also learned for the first time that the Vine

report was exculpatory and had not been provided to Becker.

       The Third District Court’s minute entry for the preliminary hearing was not

contemporaneously signed or stamped. Over a year after the hearing, Becker obtained

a copy of the court file and the minutes were unsigned at that time. However, the Attorney

General’s office subsequently obtained a signed and stamped minute entry for purposes

of this case. The Third District Court clerk testified in a deposition that she stamped the

judge’s name when someone came to request a copy of the minutes because she thought

the person requesting it would need it signed and stamped.




Honor.” Then Judge Lindberg said, “Now, counsel did not put this on the record, but I
do want you to understand—and maybe I acted too soon beforehand, you have a right
to take the stand. To testify, if you wish. And—and I probably acted prematurely in
doing this bind over because I do want you to know that you have the opportunity to do
that, if you wish. And I’m sure counsel advised you as to whether or not he
recommended that you do so or not but, for the record, counsel, did you address that
issue with your client?” Id.
         6
           Id. at 361.
         7
           Id.
         8
           The record does not contain the portion of the transcript of the preliminary
hearing containing Wright’s testimony.

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       Approximately two months after the preliminary hearing, Gardner dismissed the

criminal complaint against Becker with prejudice. Gardner then referred the matter of the

alleged up-coding to an administrative action, where it was determined that Becker owed

nothing, effectively clearing her of the up-coding allegations.

       Gardner gave three reasons for dismissing the case. One, contrary to what Wright’s

follow-up report stated, Becker’s records had not been obtained voluntarily, but rather by

subpoena. Further, the return of service for that subpoena had not been filed as required

by state law. Two, Gardner learned that, contrary to what Wright had told him, Dr. Vine

had been involved in the case at MFCU’s request, and had submitted an exculpatory

report. Three, Wright’s files had not made any documentation of the negotiation meetings

or statements made therein.

       Most significantly, when asked about whether it would have impacted his decision

to prosecute Becker if he had know the information Wright withheld from him about Dr.

Vine exculpatory report, Gardner replied: “it would have.”9

                              III. PROCEDURAL BACKGROUND

       Becker filed this action under §1983 and state law. The Court previously granted

Defendants’ Motion for Summary Judgment on all claims. The Tenth Circuit affirmed in

part but reversed and remanded the First Amendment retaliation claims. It explained:

       To establish a § 1983 retaliation claim against non-immune officials, Becker
       must plead and prove (1) that she was engaged in a constitutionally
       protected activity; (2) that a defendant's action caused her to suffer an injury
       that would chill a person of ordinary firmness from continuing to engage in


       9
           Pl.’s Ex. I at 38:25.

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       that activity; and (3) that a defendant's action was substantially motivated as
       a response to her exercise of her First Amendment speech rights. She also
       must plead and prove the absence of probable cause for the prosecution.10

       The Tenth Circuit noted that the requirement that there be a lack of probable cause

was announced in Hartman v. Moore,11 a decision issued after this Court’s summary

judgment ruling, “so neither the parties nor the district court had the opportunity to directly

address the absence of probable cause in the retaliatory prosecution context.”12          The

Tenth Circuit further stated:

               We believe the record on appeal presents a possible inference of
       retaliatory action. To survive summary judgment on the retaliation claim,
       Becker must present a genuine issue of material fact as to whether a
       non-immune defendant influenced the decision to prosecute in retaliation for
       protected speech. Viewing the facts in the light most favorable to Becker, we
       can infer the following from the record: (1) in November and December of
       1999, Becker began speaking out about MFCU by filing a Notice of Claim
       against the state and writing to state lawmakers; (2) Becker's speech was
       part of a larger political debate around the same time that resulted in
       management changes at MFCU: in December 1999, Gardner became the
       MFCU lead prosecutor and sometime thereafter, the state legislature
       transferred oversight of MFCU from the Department of Public Safety to the
       Attorney General's office; (3) some defendants stated at their depositions
       that they were aware of the public criticism and at some point were aware of
       Becker's planned litigation against the state; (4) while Gardner was reviewing
       Becker's case, he discussed the investigation with some defendants; (5)
       these defendants may have withheld information about the investigation from
       Gardner; (6) as a result, Gardner did not have complete information about
       the Becker investigation before he made the decision to file charges; and (7)
       if Gardner had complete information, he would not have filed criminal
       charges in January 2000.

              If Becker has established a genuine issue of material fact as to the
       points above against defendants not entitled to immunity, her retaliation


       10
          Becker, 494 F.3d at 925 (citation omitted).
       11
          Becker, 547 U.S. 250 (2006).
       12
          494 F.3d at 925.

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       claim may be able to proceed to a jury. The district court's summary
       judgment order did not discuss Becker's theory of retaliation by non-immune
       defendants who may have induced the prosecution by withholding key
       evidence from Gardner. Neither did it address the role particular defendants
       played in influencing Gardner's decision.13

                           IV. SUMMARY JUDGMENT MOTION

       A. Parties’ Positions

       On remand, Defendants Kroll, Van Ballegoie, Allen, Herbert-Snow and Wright move

for summary judgment on retaliation and conspiracy regarding the retaliatory inducement

to prosecute claim and any related conspiracy claim.14 Defendants assert qualified

immunity for each Defendant. Defendants contend that Plaintiff has failed to show a

violation of her constitutional rights because (1) the Third District court found probable

cause for the bindover; (2) there is no evidence of a retaliatory motive by any individual

Defendant; (3) there is no showing that any Defendant’s actions had anything but a

nominal role in the decision to prosecute.

       Plaintiff contends that there is no probable cause because the Third District Court’s

bindover order is invalid as unsigned and that there are issues of fact that create

inferences of retaliatory motive and conspiracy.

       B. Qualified Immunity

       Qualified immunity “protects government officials ‘from liability for civil damages

insofar as their conduct does not violate clearly established statutory or constitutional rights




       13
            Id. at 926 (citation omitted).
       14
            The dismissal of the other conspiracy claims was affirmed on appeal.

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of which a reasonable person would have known.’”15 The doctrine balances accountability

of government officials who act irresponsibly with shielding government actors from

harassment and distraction when their actions are reasonable.16

       When the defense of qualified immunity is raised the burden of proof shifts to the

plaintiff.17 This “heavy burden” is satisfied if the record shows (1) “the facts that a plaintiff

has alleged or shown make out a violation of a constitutional right,” and (2) “the right at

issue was clearly established at the time of defendant’s alleged misconduct.”18 To satisfy

the second step “[o]rdinarily . . . there must be a Supreme Court or Tenth Circuit decision

on point, or the clearly established weight of authority from other courts must have found

the law to be as the plaintiff maintains.”19

       As established in Pearson v. Callahan, trial courts may use their discretion “to

determine which of the two prongs of the qualified immunity analysis should be addressed

first in light of the circumstances in the particular case at hand.”20




       15
           Pearson v. Callahan, 555 U.S. __, 129 S.Ct. 808, 815 (2009) (quoting Harlow
v. Fitzgerald, 457 U.S. 800, 818 (1982)).
        16
           Id.
        17
           Oliver v. Woods, 209 F.3d 1179, 1185 (10th Cir. 2000) (“If the plaintiff fails to
show the defendants violated a constitutional or statutory right, or that the asserted
violation was clearly established under the law, the defendant is entitled to qualified
immunity.”).
        18
           Id. (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001)).
        19
           Id. at 1185 (quoting Albright v. Rodriguez, 51 F.3d 1531, 1535 (10th Cir.
1995)).
        20
           129 S.Ct. 818.

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       If the plaintiff’s alleged facts satisfy the qualified immunity test the burden of proof

shifts back to the defendants.21

       As articulated by the Supreme Court, “[i]f no constitutional right would have
       been violated were the allegations established, there is no necessity for
       further inquiries concerning qualified immunity. On the other hand, if a
       violation could be made out on a favorable view of the parties' submissions,
       the next, sequential step is to ask whether the right was clearly
       established.”22

       As an initial matter, the Court notes that Defendants do not argue that the law was

not clearly established at the time the criminal complaint was brought against Becker.

Thus, the second prong of the qualified immunity test, requiring the right allegedly violated

to be clearly established, is satisfied.

       Defendants contend that Plaintiff has not shown the first prong of qualified immunity

because she has not shown a violation of a constitutional right. In support, they argue that

the Third District’s finding of probable cause establishes that there is not an “absence of

probable cause for the prosecution,” a necessary element of Plaintiff’s claim. They also

argue there is no evidence that the Defendants had a retaliatory motive and that there is

no showing that the Defendant’s actions were related to the alleged injury she suffered.

       Plaintiff argues she has met the requirements set out by the Tenth Circuit by

presenting facts on each point it specified as necessary to allow a jury to infer that a non-

immune defendant influenced the decision to prosecute in retaliation for protected speech.



       21
          Clark v. Edmunds, 513, F.3d 1219, 1222 (10th Cir. 2008); see also Oliver, 209
F.3d at 1185 (quoting Romero v. Fay, 45 F.3d 1472, 1475 (10th Cir. 1995)).
       22
          Weigel v. Broad, 544 F.3d 1143, 1150 (10th Cir. 2008) (quoting Saucier, 533
U.S. at 201) (emphasis added in Weigel).

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       The Court will first address the potentially dispositive issue of whether the Third

District’s bindover is irrefutable evidence of probable cause and if issue preclusion applies

to the probable cause finding of the Utah District Court.

       As noted above, the “absence of probable cause for the prosecution” prong was

recently added by the U.S. Supreme Court in Hartman v. Moore, and one of the reasons

for the remand was to allow this Court and the parties to address it on summary judgment.

If issue preclusion applies to the probable cause finding of the state court, then Plaintiff

cannot satisfy her burden and Defendants’ motion for summary judgment for retaliation

should be granted.

       Defendants argue the Rooker-Feldman Doctrine23 bars Plaintiff from challenging the

Utah District Court’s finding of probable cause.24 However, Rooker-Feldman does not

apply in the circumstances of this case.

       Rooker-Feldman does not otherwise override or supplant preclusion
       doctrine.” Thus, “[i]f a federal plaintiff presents some independent claim,
       albeit one that denies a legal conclusion that a state court has reached in a
       case to which he was a party, then there is jurisdiction and state law
       determines whether the defendant prevails under principles of preclusion.25




       23
           “The Rooker-Feldman doctrine prevents the lower federal courts from
exercising jurisdiction over cases brought by state-court losers challenging state-court
judgments rendered before the district court proceedings commenced.” Lance v.
Dennis, 546 U.S. 459, 460 (2006).
        24
           Defendants rely on the reasoning in Warnick v. Briggs, 2007 WL 3231609 (D.
Utah Oct. 30, 2007). The Court finds that case inapposite as it involved findings made
at a juvenile court’s shelter hearing.
        25
           Silvan W. v. Briggs, 2009 WL 159429, 3 (10th Cir. Jan. 23, 2009) (quoting
Exxon Mobil Corp. V. Saudi Basic Indus. Corp., 554 U.S. 280, 284, 293 (2005)).

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        In a similar case, Bell v. Dillard Department Stores, Inc.,26 the Tenth Circuit

considered the effect of a preliminary hearing finding of probable cause. The Tenth Circuit

examined the effect under the doctrine of issue preclusion, not the Rooker-Feldman

doctrine, ultimately finding that an unsigned minute entry did not have preclusive effect

under Oklahoma law.27 Thus, the effect of the prior state court determination of probable

cause on the issue of a “lack of probable cause for prosecution” prong should be analyzed

under the doctrine of issue preclusion.

       In considering issue preclusion, the Court looks to state law. “Pursuant to 28 U.S.C.

§ 1738, a federal court must give the same full faith and credit to state judicial proceedings

‘as they have by law or usage in the courts of such State . . . from which they are taken.’”28

Thus, in determining issue preclusion the law of the court that issued the final order

governs.29




       26
           85 F.3d 1451 (10th Cir. 1996).
       27
           Id. at 1453-54.
        28
           Id. at 1453.
        29
           Dixon v. Richer, 922 F.3d 1456, 1459 (10th Cir. 1991) (“‘Congress has
specifically required all federal courts to give preclusive effect to state-court judgments
whenever the courts of the State from which the judgments emerged would do so . . ..”
(citing Allen v. McCurry, 449 U.S. 90, 96 (1980)).

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       Unlike the cases cited by Defendant,30 which involve state law other than Utah,

under Utah law a bindover decision “has no final preclusive effect.”31 This rule was

established by the Utah Supreme Court decision, State v. Humphrey,32 and clarified in the

Supreme Court decision Ford v. State.33 Under the Utah Constitution, bindover orders

“shall” be issued by magistrates. 34 Consequently, when a district judge issues a bindover

order, he or she is acting as a magistrate and not as a judge of a court.35 In essence the

judge takes off his or her judge hat and puts on his or her magistrate hat.36 Humphrey held

that a magistrate’s orders were not immediately appealable and bindover orders could be

reviewed by the trial judge in a motion to quash.37 Ford reiterated this: “[T]he magistrate

decides nothing more than that the case will proceed. As noted in Humphreys, that

decision has no final preclusive effect.”38



       30
          Hoffman v. Martinez, 92 Fed. Appx. 628, 631-32 (10th Cir. 2004) (malicious
prosecution case applying New Mexico law, and quoting Weststar Mortgage Corp. v.
Jackson, 133 N.M. 114, 61 P.3d 823, 832 (N.M. 2002) as holding “that a judicial
determination to bind a plaintiff over for a criminal trial constitutes prima facie evidence
of the existence of probable cause for detention”); Gouskos v. Grifith, 122 Fed. Appx.
965, 971 (10th Cir. 2005) (finding that under Oklahoma law “a finding of probable cause
made at the preliminary hearing in a criminal case proves prima facie defensive
evidence in a subsequent civil case that a false arrest claim should be dismissed”);
Thompson v. City of Lawrence, Kan., 58 F.3d 1511, 1515-16 (10th Cir. 1995) (applying
Kansas law). Another case cited by Defendant Tinsley v. Treat, 205 U.S. 20 (1907) is
inapposite as it involves a probable cause determination by the return of an Indictment.
       31
          Ford v. State of Utah, 199 P.3d 892, 896 (Utah 2008).
       32
          823 P.2d 464 (Utah 1991).
       33
          199 P.3d 892 (Utah 2008).
       34
          Ford, 199 P.3d at 895 (quoting Utah Const. art. 1 § 13) (emphasis added).
       35
          Humphrey, 823 P.2d at 467.
       36
          State v. Jaeger, 886 P.2d 53, 54 n.2 (Utah 1994).
       37
          Humphrey, 823 P.2d at 467–68.
       38
          Ford, 199 P.3d at 896 (internal citations omitted).

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       Further, in determining what, if any, weight should be given to the commitment by

a magistrate, the court should take into account evidence of “undue means in procuring

a magistrate to bind over a defendant.”39

       Accordingly, Plaintiff is not precluded from showing a lack of probable cause by the

Utah District Court’s bindover order. Despite the fact that Judge Lindberg conducted the

preliminary hearing and retained the case for trial, she was acting as a magistrate during

the preliminary hearing. Accordingly, the Court need not address the parties’ arguments

regarding the unsigned minute entry.

       Because there is no preclusive effect of the bindover order, Plaintiff is not precluded

from presenting her evidence from which a jury could infer that the prosecution lacked

probable cause.    In this case, Gardner testified that had he known of the information

withheld from him, especially the Vine report, it would have impacted his decision to

prosecute. Shortly after he did obtain the withheld information, Gardner dismissed the

charges. From this, a reasonable jury could infer a lack of probable cause had one or

more of the Defendants not induced the prosecution by withholding key evidence from

Gardner.

       C. Individual Defendants

       The Court will address together Defendants’ arguments that there is no evidence

of a retaliatory motive by each Defendant and that there is no showing that each

Defendant’s actions had anything but a nominal role in the decision to prosecute. Individual


       39
        Olson v. Independent Order of Foresters, 324 P.2d 1012, 1014 (Utah 1958)
(malicious prosecution case).

                                             16
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liability under 42 U.S.C. § 1983, must be based upon personal participation of the

individual in the alleged constitutional violation.40 Plaintiff claims her free speech rights

were violated when the non-prosecuting defendants acted in retaliation and induced the

prosecutor to bring charges he would not otherwise have brought, and that those free

speech rights were clearly established.

       In Hartman, the Supreme Court explained:

       A Bivens (or § 1983) action for retaliatory prosecution will not be brought
       against the prosecutor, who is absolutely immune from liability for the
       decision to prosecute, instead, the defendant will be a nonprosecutor, an
       official, like an inspector here, who may have influenced the prosecutorial
       decision but did not himself make it, and the cause of action will not be
       strictly for retaliatory prosecution, but for successful retaliatory inducement
       to prosecute. The consequence is that a plaintiff . . . must show that the
       nonprosecuting official acted in retaliation, and must also show that he
       induced the prosecutor to bring charges that would not have been initiated
       without his urging.41

       “Any form of official retaliation for exercising one’s freedom of speech, including

prosecution, threatened prosecution, bad faith investigation, and legal harassment,

constitutes an infringement of that freedom.”42 Inducing prosecution fits within the court’s

definition of “any form of official retaliation.” The Court finds that Plaintiff’s efforts to

encourage additional governmental oversight, reform, transfer, or the abolishment of

MFCU included free speech activities.




       40
         Whitington v. Ortiz, 2009 WL 74471, *10 (10th Cir. Jan. 13, 2009).
       41
         Hartman, 547 U.S. at 262 (footnotes and citations omitted) (emphasis added).
      42
         Worrell v. Henry, 219 F.3d 1197, 1212 (10th Cir. 2000) (quoting Lackey v.
County of Bernalillo, 1999 WL 2461, *3)).

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       1.   Wright

       As set forth above, Wright was aware of Becker’s First Amendment activities and

was affected by it. Wright played more than a nominal role in inducing Gardner’s decision

to file a criminal complaint. Gardner met with him about the case. Wright’s report

incorrectly indicated that the information obtained by subpoena was given voluntarily by

Dr. Becker. The fact that it was subpoenaed was key information that Wright withheld from

Gardner and that withheld fact would have impacted his decision. Similarly, if Wright had

told Gardner about the Vine report, it would have affected his decision to prosecute. But

more than withholding the Vine report, Wright actually told Garner that Dr. Vine was not

involved in the case. This false statement to Gardner had to have occurred after Garner

was appointed prosecutor in December 1999. Accordingly, it was after Becker filed her

Notice of Claim and during the time that the Beckers were engaged in the larger public

debate about the MFCU—facts Wright admits affected him. This withholding of evidence

from the prosecutor had a snowball effect in that the evidence was then not presented to

the persons from whom Gardner sought advice regarding prosecution.

       Plaintiff has shown evidence as to Wright on all of the points set forth by the Tenth

Circuit as establishing a possible inference of retaliation by influencing the decision to

prosecute in retaliation for protected speech. A jury may infer that Wright exerted influence

over the decision to prosecute by withholding information and giving false information.

       Plaintiff has shown actions by Wright that caused her to suffer an injury—a

retaliatory prosecution—which would chill a person of ordinary firmness from continuing

to engage in the public debate about MFCU. It is not required that it did chill her from the

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actions, only that it would have chill a person of ordinary firmness. Summary judgment on

the basis of qualified immunity will, therefore, be denied as to Wright.

       2. Allen

       Allen conducted an initial statistical analysis of the database that showed unusual

billing by Dr. Becker and discussed the evidence with Gardner. However, there is no

evidence which intimates that Allen withheld information from Gardner.             There is no

showing that Allen was aware of or was motivated by Becker’s planned litigation against

the state or the Beckers’ participation in the larger public debate about MFCU. Plaintiff has

not shown evidence that Allen’s statistical analysis was influenced by Becker’s exercise of

her First Amendment rights because that analysis occurred well before she began

speaking out in the public debate against MFCU and before she filed her Notice of Claim.

Plaintiff has, therefore, failed to show evidence of a retaliatory motive by Allen. Plaintiff

has also not shown that Allen’s actions caused Plaintiff injury.

       Plaintiff has not shown a violation of her constitutional right by Defendant Allen.

Allen is entitled to qualified immunity and summary judgment will be granted in his favor.

       3. Van Ballegoie

       Van Ballegoie has denied having any role in this investigation and Gardner does not

contradict that statement. Plaintiff has not shown that Van Ballegoie’s actions caused

Plaintiff injury. Therefore, Plaintiff has not shown a violation of a constitutional right by Van

Ballegoie and he is entitled to qualified immunity and summary judgment will be granted

in his favor.




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       4. Herbert-Snow

       Herbert-Snow accompanied Wright to serve the subpoena, conducted the initial

MFCU analysis, and attended the first negotiation meeting with Dr. Becker. However, there

is no evidence that she participated in the investigation beyond that point or that she

falsified her analysis in any way. Plaintiff has failed to show that Herbert-Snow’s actions

caused Plaintiff injury or that they were motivated by retaliation for the exercise of Becker’s

First Amendment rights.         Therefore, Plaintiff has failed to show a violation of a

constitutional right by Herbert-Snow and she is entitled to summary judgment.

       5. Kroll

       Kroll was the lead prosecutor when the investigation extending to December 1999.

The recent U.S. Supreme Court decision Kamp v. Goldstein43 impacts this case because

it clarified prosecutorial immunity. In that case, the plaintiff sued the supervisors of a

district attorney for failing to properly train prosecutors and failing to develop an

informational system that would have ensured disclosure of impeachment information

about a witness that testified against the plaintiff in a criminal trial. Specifically, the plaintiff

claimed the prosecutors violated a “constitutional duty to insure communication of all

relevant information on each case . . . to every lawyer who deals with it.”44

       The Court expanded prosecutorial immunity to apply to prosecutor administrators,

stating that “supervisory prosecutors are immune in a suit directly attacking their actions




       43
            129 S.Ct. 855 (2009).
       44
            Id. at 859 (quoting Giglio v. U.S., 405 U.S. 150, 154 (1972)).

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related to an individual trial.”45 This rule applies to error in general training of prosecutors

that may affect individual cases. The policy is that supervisors should not be forced to

consider possible civil consequences when determining whether or not to prosecute a case

or implement programs that will affect how cases will be prosecuted.46 The Supreme Court

stated that activities such as “workplace hiring, payroll administration, [and] the

maintenance of physical facilities” are not given absolute immunity, but activities

“determining what information should be included in the training or the supervision” are

afforded immunity.47 In short, any action or decision that is “directly connected with the

prosecutor’s basic trial advocacy duties” is afforded immunity.48

       Under Kamp, Kroll is entitled to absolute prosecutorial immunity for any

administrative actions “directly connected with the prosecutor’s basic trial advocacy

duties.”49 The Court finds that all of his alleged actions prior to his transfer are subject to

immunity.

       Following his transfer, he sat on two early screening committees and discussed the

case with Gardner. To the extent that he, as the former prosecutor, discussed his prior

prosecutorial actions and decisions directly connected with the prosecutor’s trial advocacy

duties with his successor, his actions are covered by prosecutorial immunity.




       45
          Id. at 862.
       46
          Id. at 862–63.
       47
          Id. at 862.
       48
          Id. at 863.
       49
          Id.

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       As to his actions solely in his new role as interim director, there is no evidence that

Kroll knew of the Vine report before it was revealed at the preliminary hearing. Kroll did

discuss with Gardner the fact of the negotiations with Becker, but his participation in those

discussions, and his conveying of the information of his prosecutorial actions to his

successor are part of his prosecutorial function. Although Kroll was aware of Becker’s

exercise of her First Amendment rights, there is no evidence that, between the time he was

transferred and the filing of criminal charges, his actions caused Plaintiff’s injury. There

is no evidence that he influenced or induced the prosecutor to bring charges that would

not have been initiated without his efforts acting in his new role as director. The Court finds

that Kroll is entitled to both qualified immunity and absolute prosecutorial immunity.

       C. Conspiracy

       Plaintiff does not address the specifics of her conspiracy claim. Therefore, she has

not met her burden of opposing Defendants’ claim of qualified immunity on the conspiracy

claim and summary judgment will be granted.

                                         V. ORDER

       Based on the foregoing, it is

       ORDERED that Defendants’ Motion for Summary Judgment (Docket No. 208) on

the conspiracy claim is GRANTED to Defendants Van Ballegoie, Allen, Herbert-Snow,

Kroll, and Wright. It is further

       ORDERED that Defendants’ Motion for Summary Judgment (Docket No. 208) on

the basis of qualified immunity is GRANTED as to Defendants Van Ballegoie, Allen, and

Herbert-Snow, and DENIED as to Wright. It is further

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      ORDERED that Defendants’ Motion for Summary Judgment (Docket No. 208) on

the basis of a combination of qualified immunity and prosecutorial immunity is GRANTED

as to Defendant Kroll.

      DATED March 26, 2009.

                                       BY THE COURT:


                                       _____________________________________
                                       TED STEWART
                                       United States District Judge




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